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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT COURT OF TENNESSEE

 

 

WESTERN DIVISION
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CLE§§ §§
KAREN M§;BRIDE, ) ' ’ ' ' %" MS
)
Plaimiff, )
)
V. ) CIVIL ACTION NO. 05-2336-]3 An
)
SMITH & NEPHEW, INC. )
)
Defendant. )

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates

are established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)): September 15, 2005 ;
JOINING PARTIES:
(a) for Plaintiff: October 16, 2005;
(b) for Defendant: November 15, 2005;
COMPLETING ALL DISCOVERY: April 17, 2006;
(a) Request for Production, Interrogatories, and
Requests for Admissions: April 17, 2006;
(b) Expert Disclosure (Rule 26(3)(2)):
(i) Case in ChiefExperts: Janua.ryl'/', 2006;
(ii) Rebuttal Experts: March 16, 2006;
(iii) Supplementation under Rule 26(e) March 27, 2006;
(c) Depositions Of Experts: April ]7, 2006;
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Th§`s dog ument entered cmthe§ sometime mo '“0 cm nance
with Ru|e 58 and/or 79( (a) FRCP on

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FILING DlsPosrTlvE MoTIoNs May 17, 2006;
FINAL LlsTs or wITNEssEs AND EXHIBITS (Rule 26(§)(3)):

(a) for Plaintiff 30 days before trial;
(b) for Defendant 30 days before trial;

Parties shall have ten (10) days after service of final lists of Witnesses and
exhibits to file objections under Rule 26(a)(3).

The trial of this matter is expected to last three (3) to four (4) days. The
presiding judge will set this matter for jury trial. In the event the parties are able to
agree on a joint pretrial order, the parties must notify the court at least ten (10) days
before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production and Requests for Admission must be
submitted to the opposing party in sufficient time for the opposing party to respond to the
deadline for completion of discovery. For example, if the FRCP allow 30 days for a
party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline
or Within thirty (30) days of the default or service of the response, answer, or objection
which is the subject of the motion if the default occurs within thirty (30) days, unless the
time for filing of such motion is extended for good cause shown, or any objection to the
default, response or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59 and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter.
Neither party may file an additional reply, however, Without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate
Judge can normally provide the parties with a definite trial date that will not be continued
unless a continuance is agreed to by all parties, or an emergency arises which precludes
the matter from proceeding to trial.

The parties are ordered to engage in court-annexed attorney mediation or

private mediation on or before the close of discovery.

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This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order will not be

modified or extended

IT IS SO ()RDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE: éog:“f 575',. 2005

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02336 was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

Charles V. Holmes

LEWIS FISHER HENDERSON CLAXTON & MULROY
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

Melissa Kimberly Hodges

LEWIS FISHER HENDERSON CLAXTON & MULROY
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

Donald A. Donati
DONATI LAW FIRM LLP
1545 Union Ave.
1\/1emphis7 TN 3 8104

Honorable J. Breen
US DISTRICT COURT

